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   UNITED STATES DISTRICT COURT                            EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                      §
                                                §
  versus                                        §           CASE NO. 4:12-CR-295(6)
                                                §
  JESUS ARCADIO CERON MUNOZ                     §

                                MEMORANDUM AND ORDER

           Pending before the court is Defendant Jesus Arcadio Ceron Munoz’s (“Munoz”)

  Reconsideration Emergency Motion for Compassionate/Release/Reduction in Sentence for

  Individuals Who Are at Risk of COVID-19 Infection (#571), wherein Munoz requests that the

  court reduce his sentence due to the threat of Coronavirus Disease 2019 (“COVID-19”). The

  Government filed a response in opposition (#573). United States Probation and Pretrial Services

  (“Probation”) conducted an investigation and recommends that the court deny the motion. Having

  considered the motion, the Government’s response, Probation’s recommendation, the record, and

  the applicable law, the court is of the opinion that the motion should be DENIED.

  I.       Background

           On June 29, 2016, Munoz pleaded guilty pursuant to a non-binding plea agreement to

  Count 1 of the Indictment, which charged him with Conspiracy to Import Five Kilograms or More

  of a Mixture or Substance Containing a Detectable Amount of Cocaine and to Manufacture and

  Distribute Five Kilograms or More of a Mixture or Substance Containing a Detectable Amount

  of Cocaine Intending and Knowing that the Cocaine Would Be Unlawfully Imported into the

  United States, in violation of 21 U.S.C. § 963. On January 4, 2017, the court sentenced Munoz

  to 135 months’ imprisonment, followed by a 2-year term of supervised release. His conviction

  and sentence were affirmed on appeal on October 24, 2017. On April 27, 2020, Munoz filed a
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  motion for compassionate release seeking a reduction in his sentence due to the COVID-19

  pandemic. On May 12, 2020, the Honorable Sean D. Jordan dismissed Munoz’s motion for want

  of jurisdiction after finding that Munoz had failed to satisfy the threshold exhaustion requirement

  for compassionate release. In the instant motion, Munoz requests the court to waive the

  exhaustion of administrative remedies requirement, yet the record before the court indicates that

  he has satisfied the exhaustion requirement. Munoz is currently housed at Federal Medical Center

  Fort Worth, located in Fort Worth, Texas (“FMC Fort Worth”). His projected release date is

  December 4, 2024. Munoz is not a United States citizen, was extradited to the United States in

  2016, and an immigration detainer has been lodged against him. Upon his release from custody,

  Munoz is to surrender to a duly authorized immigration official for deportation proceedings.

  II.    Analysis

         On December 21, 2018, the President signed the First Step Act of 2018 into law. See First

  Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. The Act, in part, amended 18 U.S.C.

  § 3582(c), which gives the court discretion, in certain circumstances, to reduce a defendant’s term

  of imprisonment:

         The court, upon motion of the Director of the Bureau of Prisons (“BOP”), or upon
         motion of the defendant after the defendant has fully exhausted all administrative
         rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may reduce the term of imprisonment
         (and may impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term of
         imprisonment), after considering the factors set forth in section 3553(a) to the
         extent that they are applicable, if it finds that extraordinary and compelling reasons
         warrant such a reduction; or the defendant is at least 70 years of age, has served
         at least 30 years in prison, pursuant to a sentence imposed under section 3559(c),
         for the offense or offenses for which the defendant is currently imprisoned, and a
         determination has been made by the Director of the [BOP] that the defendant is not
         a danger to the safety of any other person or the community, as provided under

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         section 3142(g); and that such a reduction is consistent with applicable policy
         statements issued by the Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A). This provision is commonly referred to as “compassionate release.”

         Prior to the First Step Act, only the Director of the BOP could file a motion seeking

  compassionate release. See United States v. Franco, No. 20-60473, 2020 WL 5249369, at *1 (5th

  Cir. Sept. 3, 2020) (“Prior to the passage of the First Step Act . . . courts lacked the power to

  adjudicate motions for compassionate release.”); Tuozzo v. Shartle, No. 13-4897, 2014 WL

  806450, at *2 (D.N.J. Feb. 27, 2014) (denying petitioner’s motion for compassionate release

  because no motion for his release was filed by the BOP). The First Step Act amended § 3582(c)

  by providing a defendant the means to appeal the BOP’s decision not to file a motion for

  compassionate release on the defendant’s behalf. United States v. Cantu, 423 F. Supp. 3d 345,

  347 (S.D. Tex. 2019); United States v. Bell, No. 3:93-CR-302-M, 2019 WL 1531859, at *1

  (N.D. Tex. Apr. 9, 2019). The plain language of the statute, however, makes it clear that the

  court may not grant a defendant’s motion for compassionate release unless the defendant has

  complied with the administrative exhaustion requirement. 18 U.S.C. § 3582(c)(1)(A); Franco,

  2020 WL 5249369, at *1 (holding that the statutory requirement that a defendant file a request

  with the BOP before filing a motion for compassionate release in federal court “is not

  jurisdictional but that it is mandatory”); United States v. Alam, 960 F.3d 831, 833 (6th Cir. 2020)

  (“Even though [the] exhaustion requirement does not implicate [the court’s] subject-matter

  jurisdiction, it remains a mandatory condition.”); United States v. Raia, 954 F.3d 594, 597 (3d

  Cir. 2020) (“[T]he exhaustion requirement . . . presents a glaring roadblock foreclosing

  compassionate release.”). Thus, before seeking relief from the court, a defendant must first

  submit a request to the warden of his facility to move for compassionate release on his behalf and

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  then either exhaust his administrative remedies or wait for the lapse of 30 days after the warden

  received the request. 18 U.S.C. § 3582(c)(1)(A); Franco, 2020 WL 5249369, at *1 (“The

  text . . . outlines two routes a defendant’s motion can follow to be properly before the court. Both

  routes begin with the defendant requesting that ‘the [BOP]’ ‘bring a motion on the defendant’s

  behalf.’”); United States v. Harris, 812 F. App’x 106, 107 (3d Cir. 2020); United States v.

  Springer, No. 20-5000, 2020 WL 3989451, at *3 (10th Cir. July 15, 2020) (defendant “was

  required to request that the BOP file a compassionate-release motion on his behalf to initiate his

  administrative remedies” (citing Raia, 954 F.3d at 595)); Alam, 960 F.3d at 833-34; United States

  v. Soliz, No. 2:16-190-3, 2020 WL 2500127, at *3 (S.D. Tex. May 14, 2020) (“§ 3582(c)(1)(A)

  does not provide this Court with the equitable authority to excuse [defendant’s] failure to exhaust

  his administrative remedies or to waive the 30-day waiting period.” (quoting United States v.

  Reeves, No. 18-00294, 2020 WL 1816496, at *2 (W.D. La. Apr. 9, 2020))).

         Here, the Government provides evidence that Munoz submitted a request for compassionate

  release based on the circumstances raised in the instant motion to the warden of the facility where

  he is housed.     On May 26, 2020, Warden Eric D. Wilson denied Munoz’s request for

  compassionate release. Although Munoz complied with the exhaustion requirement before filing

  the instant motion, nothing in his motion indicates that extraordinary and compelling reasons exist

  to reduce his sentence.

         Congress did not define “extraordinary and compelling.” Rather, it elected to delegate its

  authority to the United States Sentencing Commission (“the Commission”). See 28 U.S.C.

  § 994(t) (“The Commission, in promulgating general policy statements regarding the sentencing

  modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be


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  considered extraordinary and compelling reasons for sentence reduction, including the criteria to

  be applied and a list of specific examples.”); see also U.S. SENTENCING GUIDELINES MANUAL

  § 1B1.13 (U.S. SENTENCING COMM’N 2018) (“USSG”). In Application Note 1 to § 1B1.13 of

  the USSG, the Commission defined “extraordinary and compelling reasons” to include the

  following four categories of circumstances: (i) certain medical conditions of the defendant; (ii)

  the defendant is 65 years or older and meets other requirements; (iii) the defendant’s family has

  specified needs for a caregiver; and (iv) other reasons in the defendant’s case that establish an

  extraordinary and compelling reason. The court must also consider the factors set forth in 18

  U.S.C. § 3553(a),1 as applicable, and find that the sentence modification is consistent with the

  policy statements issued by the Commission. 18 U.S.C § 3582(c)(1)(A). The policy statement

  regarding compassionate release requires a determination that “the defendant is not a danger to

  the safety of any other person or to the community.” U.S.S.G. § 1B1.13(2).

          In the instant motion, Munoz, age 47, contends that he is eligible for compassionate release

  due to his medical conditions, but he provides no supporting documentation. Munoz’s claimed

  medical conditions include:          severe degenerative joint disease, insomnia, hypertension,

  hyperlipidemia, pulmonary embolism, acute embolism, thrombosis of the veins, and paraplegia

  (requiring the use of a wheelchair). The USSG provides that extraordinary and compelling



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            Section 3553(a) directs courts to consider: the nature and circumstances of the offense and the
  defendant’s history and characteristics; the need to reflect the seriousness of the offense, to promote
  respect for the law, and to provide just punishment for the offense; the need to deter criminal conduct; the
  need to protect the public; the need to provide the defendant with needed educational or vocational training,
  medical care, or other correctional treatment in the most effective manner; the kinds of sentences and
  sentencing ranges established for defendants with similar characteristics under applicable USSG provisions
  and policy statements; any pertinent policy statement of the Commission in effect on the date of sentencing;
  the need to avoid unwarranted disparities among similar defendants; and the need to provide restitution to
  the victim. 18 U.S.C. § 3553(a).

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  reasons exist regarding a defendant’s medical condition when the defendant is “suffering from a

  terminal illness (i.e., a serious and advanced illness with an end of life trajectory)” or when a

  defendant is “suffering from a serious physical or medical condition,” “suffering from a serious

  functional or cognitive impairment,” or “experiencing deteriorating physical or mental health

  because of the aging process, that substantially diminishes the ability of the defendant to provide

  self-care within the environment of a correctional facility and from which he or she is not expected

  to recover.” U.S.S.G. § 1B1.13 cmt. n.1(A).

         Here, according to Munoz’s Presentence Investigation Report (“PSR”) prepared in 2016,

  his medical history includes an appendectomy and treatment for gunshot wounds he sustained in

  Columbia in 2011, which perforated both of his lungs, impacted his vertebrae, spinal cord, and

  spinal column, and resulted in an irreversible spinal cord injury located at the T3 level. According

  to his PSR, Munoz further reported that he requires the use of diapers, his catheter must be

  changed every four hours, and he had constant, intense pain along the left side of his body.

  Nonetheless, this medical summary does not meet the criteria listed above.

         The Government provided Munoz’s BOP medical records for 2019 and 2020. Munoz’s

  medical records confirm his history of insomnia, hypertension, hyperlipidemia, pulmonary

  embolism, acute embolism, paraplegia, and use of a wheelchair. Munoz’s Health Problems

  summary report generated September 2, 2020, reveals that since March 7, 2017, Munoz’s

  hypertension has been in remission and his pulmonary embolism and acute embolism have been

  resolved; since May 19, 2017, his insomnia has been in remission; and since September 20, 2017,

  his hyperlipidemia has been resolved.




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         Munoz is classified as a Care Level 3 inmate which denotes, as per a BOP Clinical

  Guidance Manual dated May 2019:

         •       Care Level 3 inmates are outpatients who have complex, and usually
                 chronic, medical or mental health conditions and who require frequent
                 clinical contacts to maintain control or stability of their condition, or to
                 prevent hospitalization or complications.

         •       They may require assistance with some activities of daily living (ADLs) that
                 can be accomplished by inmate companions. Stabilization of medical or
                 mental health conditions may require periodic hospitalization.

  The BOP Clinical Guidance Manual further explains that Activities of Daily Living include

  “eating, urinating, defecating, bathing, and dressing/undressing.” According to Munoz’s medical

  equipment inventory, he received a new 16" x 16" Invacare wheelchair in June 2020. Munoz also

  receives medical supplies, including wipes, gloves, straight catheters, diapers, lubricant, and chux

  to facilitate his caring for himself and changing his own catheter. In addition, Munoz is assigned

  a single cell on the first floor with a lower bunk. Moreover, in January 2020, a medical provider

  noted that Munoz has “Modified Independent Mobility via manual wheelchair; Independent with

  transfers and ADLs [Activities of Daily Living].” During a chronic care clinic visit on August

  20, 2020, Herman Reyes, M.D., explained that Munoz is a “paraplegic and requires [a]

  wheelchair . . . has limited mobility. Can move arms but has pain. Has no mobility in legs or

  lower trunk.” In this situation, Munoz’s medical records indicate that his medical condition is not

  terminal (with an end of life trajectory within 18 months), that he can provide significant self-care,

  and that his medical needs are being met by a variety of providers at FMC Fort Worth.

         The court acknowledges Munoz’s serious medical conditions and his classification as “a

  complex chronic care patient.”        Munoz’s circumstances, however, do not constitute an

  extraordinary and compelling reason under § 3582(c)(1)(A). Moreover, “compassionate release

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  is discretionary, not mandatory, and may be refused after weighing the sentencing factors of

  18 U.S.C. § 3553(a).” United States v. Chambliss, 948 F.3d 691, 693 (5th Cir. 2020).

  Furthermore, granting Munoz compassionate release would fail to provide just punishment for his

  offense and promote respect for the law. Where, as here, the prisoner has engaged in serious

  criminal conduct for an extended period of time, the district court has discretion to deny

  compassionate release after weighing the evidence. Id. at 693-94.

         In Chambliss, the United States Court of Appeals for the Fifth Circuit found that the

  district court did not abuse its discretion in denying compassionate release to a defendant due to

  the defendant’s not yet having served a significant portion of his sentence. Id. at 694. The

  district court determined that the defendant’s terminal illness “constitut[ed] ‘an extraordinary and

  compelling reason for a sentence reduction’ and that he ‘[did] not present a danger upon release,’”

  but denied release because “releasing [the defendant] after serving only 14 years of a 30-year

  sentence minimizes both the impact of [the defendant’s] crime and seriousness of the offense.”

  Id. at 693-94. “Moreover, the [district] court, citing the § 3553(a) factors, determined that

  requiring [the defendant] to serve the remainder of his sentence would ‘provide just punishment

  for the offense’ and ‘afford adequate deterrence to criminal conduct.’” Id. Similarly, releasing

  Munoz after he has served only 4 years of his more than 11-year sentence would minimize the

  impact of his crime and the seriousness of the offense.

         Munoz’s request for compassionate release potentially falls into the fourth, catch-all

  category of “other” extraordinary and compelling reasons, which specifically states that the

  Director of the BOP shall determine whether “there exists in the defendant’s case an extraordinary

  and compelling reason other than, or in combination with, the reasons described in subdivisions


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  (A) through (C).” U.S.S.G. § 1B1.13 cmt. n.1(D). Although Subdivision D is reserved to the

  BOP Director, the Commission acknowledged, even before the passage of the First Step Act, that

  courts are in the position to determine whether extraordinary and compelling circumstances are

  present. United States v. Beck, 425 F. Supp. 3d 573, 583 (M.D.N.C. 2019) (“Read in light of

  the First Step Act, it is consistent with the previous policy statement and with the Commission

  guidance more generally for courts to exercise similar discretion as that previously reserved to the

  BOP Director in evaluating motions by defendants for compassionate release.”); see Cantu, 423

  F. Supp. 3d at 352 (“[T]he correct interpretation of § 3582(c)(1)(A) . . . is that when a defendant

  brings a motion for a sentence reduction under the amended provision, the Court can determine

  whether any extraordinary and compelling reasons other than those delineated in U.S.S.G.

  § 1B1.13 cmt. n.1(A)-(C) warrant granting relief.”). In the case at bar, there is no indication that

  the BOP Director made a determination regarding the presence of extraordinary and compelling

  reasons with respect to Munoz for any “other” reason. In exercising its discretion, the court,

  likewise, finds that no extraordinary and compelling reasons exist in relation to Munoz’s situation.

         Munoz maintains that if he contracts COVID-19 it will be fatal for him due to prison

  overcrowding and there being no way to distance himself from other inmates. Munoz expresses

  concern regarding the spread of COVID-19 among the prison population. Nevertheless, as of

  September 25, 2020, the figures available at www.bop.gov list 4 inmates (out of a total inmate

  population of 1,279) and 9 staff members at FMC Fort Worth as having confirmed positive cases

  of COVID-19, 619 inmates and 6 staff members who have recovered, and 12 inmates who have

  succumbed to the disease. Thus, it appears that the medical facility where Munoz is housed is

  handling the outbreak appropriately and providing adequate care. Indeed, Munoz is receiving a


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   high level of care. His medical records reveal that Munoz is currently prescribed 12 medications

   for his various afflictions, he is frequently examined, tested, and treated, many of his health issues

   have been resolved or are in remission, and he had surgery to address his hemorrhoids and rectal

   bleeding earlier this year. He is also receiving daily wound care for a pressure ulcer on his ankle

   and has been issued braces for both wrists.

          Although Munoz expresses legitimate concerns regarding COVID-19, he does not establish

   that the BOP cannot manage the outbreak within his correctional facility or that the facility is

   specifically unable to treat Munoz, if he were to contract the virus and develop COVID-19

   symptoms, while incarcerated. See Raia, 954 F.3d at 597 (“[T]he mere existence of COVID-19

   in society and the possibility that it may spread to a particular prison alone cannot independently

   justify compassionate release, especially considering BOP’s statutory role, and its extensive and

   professional efforts to curtail the virus’s spread.”); United States v. Vasquez, No. CR

   2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“General concerns about the

   spread of COVID-19 or the mere fear of contracting an illness in prison are insufficient grounds

   to establish the extraordinary and compelling reasons necessary to reduce a sentence.” (quoting

   United States v. Koons, No. 16-214-05, 2020 WL 1940570, at *5 (W.D. La. Apr. 21, 2020)));

   United States v. Clark, No. CR 17-85-SDD-RLB, 2020 WL 1557397, at *5 (M.D. La. Apr. 1,

   2020) (finding the defendant had failed to present extraordinary and compelling reasons to modify

   his prison sentence because he “does not meet any of the criteria set forth by the statute” and he

   “cites no authority for the proposition that the fear of contracting a communicable disease warrants

   a sentence modification”). Furthermore, contracting the virus while incarcerated, even in

   conjunction with preexisting health conditions, is insufficient to establish exceptional and


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   compelling circumstances warranting compassionate release. See United States v. Jackson, No.

   3:16-CR-196-L-1, 2020 WL 4365633, at *2 (N.D. Tex. July 30, 2020) (finding that defendant had

   failed to present extraordinary and compelling reasons for compassionate release despite suffering

   from previous underlying health conditions and testing positive for COVID-19). Munoz has failed

   to establish that a qualifying medical condition or other reasons exist that would constitute

   extraordinary and compelling reasons to reduce his sentence to time served.

          The court further finds that compassionate release is not warranted in light of the applicable

   factors set forth in § 3553(a). See 18 U.S.C. § 3582(c)(1)(A) (requiring courts to consider the

   § 3553(a) factors before granting compassionate release); Chambliss, 948 F.3d at 693-94. The

   nature and circumstances surrounding Munoz’s offense of conviction entail his participation from

   2002 through 2012 in a sophisticated, international drug-trafficking organization based in Bogota,

   Cali, and Medellin, Colombia, that exported hundreds of kilograms of cocaine from Colombia and

   Venezuela to customers in the United States and elsewhere, using assorted aircraft, ships, go-fast

   boats, and a variety of vehicles. He pleaded guilty to his involvement in a conspiracy to import,

   manufacture, and distribute 450 kilograms or more of cocaine with the intention that the cocaine

   would be unlawfully imported into the United States. Over at least a 10-year period, Munoz

   allowed coconspirators to use his vehicles to transport cocaine between Cali and Medellin,

   Colombia with the knowledge that the cocaine was destined to leave the country bound for the

   United States. In 2011, Munoz sustained gunshot wounds that rendered him a paraplegic, but that

   did not prevent him from continuing to engage in criminal activities until his arrest by Colombian

   authorities at the end of the conspiracy in December 2012. Moreover, as revealed in the Statement

   of Reasons, the court considered his health problems when crafting his sentence of 135 months,


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   which was at the bottom of the 135-168 months guideline range, with the recommendation that he

   be placed in a federal medical center. Based on the nature and circumstances of the offense of

   conviction, the court cannot conclude that Munoz would not pose a danger to any other person or

   to the community, if released from prison.

          Moreover, the BOP has instituted a comprehensive management approach that includes

   screening, testing, appropriate treatment, prevention, education, and infection control measures

   in response to COVID-19. In response to a directive from the United States Attorney General in

   March 2020, the BOP immediately began reviewing all inmates who have COVID-19 risk factors,

   as described by the Centers for Disease Control and Prevention, for the purpose of determining

   which inmates are suitable for placement on home confinement. See United States v. Collins, No.

   CR 04-50170-04, 2020 WL 1929844, at *3 (W.D. La. Apr. 20, 2020). The BOP notes that

   inmates need not apply to be considered for home confinement, as this is being done automatically

   by case management staff. To date, the BOP has placed 7,699 inmates on home confinement.

   The March 2020 directive is limited to “eligible at-risk inmates who are non-violent and pose

   minimal likelihood of recidivism and who might be safer serving their sentences in home

   confinement rather than in BOP facilities.” United States v. Castillo, No. CR 2:13-852-1, 2020

   WL 3000799, at *3 (S.D. Tex. June 2, 2020). The BOP has the exclusive authority to determine

   where a prisoner is housed; thus, the court is without authority to order home confinement. 18

   U.S.C. § 3621(b); Ambriz v. United States, No. 4:20-CV-568-P, 2020 WL 3066861, at *2 (N.D.

   Tex. June 5, 2020); United States v. Miller, No. 2:17-CR-015-D (02), 2020 WL 2514887, at *1

   (N.D. Tex. May 15, 2020) (“[N]either the CARES Act nor the First Step Act authorizes the court

   to release an inmate to home confinement.”).


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          In his Memorandum to the BOP dated March 26, 2020, Attorney General Barr

   acknowledges that the Department of Justice (“DOJ”) has an obligation to protect both BOP

   personnel and inmates. He also notes that the DOJ has the responsibility of protecting the public,

   meaning that “we cannot take any risk of transferring inmates to home confinement that will

   contribute to the spread of COVID-19 or put the public at risk in other ways.” The Attorney

   General issued a subsequent Memorandum to the BOP on April 3, 2020, in which he emphasizes

   that police officers protecting the public face an increased risk from COVID-19 and cannot avoid

   exposure to the virus, with their numbers dwindling as officers who contract the virus become ill

   or die or need to recover or quarantine to avoid spreading the disease. Accordingly, he cautions:

          The last thing our massively over-burdened police forces need right now is the
          indiscriminate release of thousands of prisoners onto the streets without any
          verification that those prisoners will follow the laws when they are released, that
          they have a safe place to go where they will not be mingling with their old criminal
          associates, and that they will not return to their old ways as soon as they walk
          through the prison gates.

   As the court noted in United States v. Preston, “[t]he best predictor of how [Defendant] will

   behave if he were to be released is how he behaved in the past, and his track record is a poor

   one.” No. 3:18-CR-307-K, 2020 WL 1819888, at *4 (N.D. Tex. Apr. 11, 2020) (quoting United

   States v. Martin, 447 F. Supp. 3d 399, 403 (D. Md. 2020)). Here, Munoz’s track record is

   similarly a poor one. In light of his continued participation in the drug trafficking conspiracy,

   despite his paraplegia, the court cannot be assured that Munoz would not engage in similar

   behavior, if released. Moreover, because he will be returned to Colombia upon his release,

   Probation will be unable to supervise him, and his 2-year term of supervised release will be of no

   practical benefit.



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          In short, Munoz has failed to satisfy his burden of showing the necessary circumstances

   to warrant relief under the statutory framework to which the court must adhere. See United States

   v. Dodge, No. 17-323-01, 2020 WL 3668765, at *5 (W.D. La. July 6, 2020) (stressing that “the

   rampant spread of the coronavirus and the conditions of confinement in jail, alone, are not

   sufficient grounds to justify a finding of extraordinary and compelling circumstances”); Koons,

   2020 WL 1940570, at *4-5 (same). As the court observed in Koons, rejecting the notion that it

   has “carte blanche” authority to release whomever it chooses, “[t]he Court cannot release every

   prisoner at risk of contracting COVID-19 because the Court would then be obligated to release

   every prisoner.” Dodge, 2020 WL 3668765, at *6; Koons, 2020 WL 1940570, at *5.

   III.   Conclusion

          In accordance with the foregoing analysis, Munoz’s Reconsideration Emergency Motion

   for Compassionate/Release/Reduction in Sentence for Individuals who are at Risk of COVID-19

   Infection (#571) is DENIED.

          SIGNED at Beaumont, Texas, this 25th day of September, 2020.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE




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